        Case 2:20-cv-00756-RDP-HNJ Document 126 Filed 12/19/22 Page 1 of 4                                                FILED
                                                                                                                 2022 Dec-19 AM 11:30
                                                                                                                 U.S. DISTRICT COURT
                                                                                                                     N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

JENNIFER WHITWORTH,                                   )
                                                      )
           Plaintiff,                                 )
                                                      )
v.                                                    )         Case No.: 2:20-cv-756-RDP-HNJ
                                                      )
STEVEN MEZRANO and                                    )
MEZRANO LAW FIRM, P.C.,                               )
                                                      )
           Defendants.                                )

     DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO STRIKE
     AND REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO STRIKE
           Defendant Steven Mezrano (“Mezrano”) and Defendant Mezrano Law Firm,

P.C. (“MLF”) (collectively “Defendants”) submit the following Response to

Plaintiff’s Motion to Strike Defendant’s [sic] Initial Brief (Doc. 125) and Reply in

support of Defendants’ Motion to Strike:

           1.     The Court’s October 4, 2022 Order extended the page limit for the

parties’ initial briefs to forty-five (45) pages.1 (Doc. 97). Defendants’ initial brief

is forty-four and a half (44 1/2) pages. See Doc. 106.

           2.     Contrary to Plaintiff’s Motion, Defendants did not “manipulate the

spacing” of their initial brief or “intentionally disregard” any order of this Court



           1
          Appendix II of this Court’s Scheduling Order specifically provides that the table of contents is not included
in the page limit. (Doc. 29, pg. 8).



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regarding formatting requirements in order to extend the page limitation established

by the Court.2

           3.     To the extent some of Defendants’ subheadings were inadvertently

spaced incorrectly, Defendants have confirmed that their initial brief would not

exceed the forty-five page limit set by this Court when all subheadings are double-

spaced. Defendants are happy to re-file their initial brief with corrected double-

spacing after subheadings if the Court would like them to do so.

           4.     Plaintiff’s Response to Defendants’ Motion to Strike fails to show good

cause for any of her various violations of this Court’s Orders. For the reasons set

forth in their Motion (Doc. 123), Defendants’ Motion is due to be granted.

           WHEREFORE, PREMISES CONSIDERED, Defendants respectfully request

that Plaintiff’s Motion to Strike (Doc. 125) be denied and Defendants’ Motion to

Strike (Doc. 123) be granted.

                                                        ATTORNEYS FOR MEZRANO LAW
                                                        FIRM, P.C.

                                                        s/ Ronald D. Scott Williams
                                                        Ronald S. Williams
                                                        Amy Jordan Wilkes
                                                        Cayman L. Caven
                                                        BURR & FORMAN LLP

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           Curiously, Plaintiff moves to strike Defendants’ initial brief for formatting issues she concedes exist in her
response brief and which she intentionally failed to correct before untimely filing her brief after the Court’s deadline.
For example, Plaintiff used 11.5-point font in portions of her brief, in violation of the Court’s Order requiring 12-point
font. See Doc. 122, pp. 50-51. This font size manipulation allows Plaintiff to circumvent the Court’s page limit
requirement even further. Plaintiff also concedes that her own headings are not appropriately double-spaced as
required by this Court’s Order.



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                          CERTIFICATE OF SERVICE
       I hereby certify I have served a copy of the foregoing document by Notice of
Electronic Filing, or, if the party served does not participate in Notice of Electronic
Filing, by U.S. First Class Mail, hand delivery, fax or email on this the 19th day of
December, 2022:

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